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                                        United States District Court
                                         Western District of Texas
                                                  Austin
                                            Deficiency Notice


To:            Beasley, Rex G.
From:          Court Operations Department, Western District of Texas
Date:          Monday, April 29, 2019
Re:            01:17-CR-00227-XR / Doc # 226 / Filed On: 04/25/2019 05:12 PM CST


Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it
is deficient in the area(s) checked below. Please correct the
deficiency(ies), as noted below, and re-file document IMMEDIATELY.
When re-filing document, other than a motion, please ensure you add
‘corrected’ to the docket text. If the document you are re-filing is a
motion, select ‘corrected’ from the drop-down list.

If an erroneous filing results in failure to meet a deadline, you will need to seek
relief, for any default, from the presiding judge.
(1) Other
   Remarks: Objections to Presentence Investigation Report and/or Responses to Objections to Presentence Report
ARE NOT filed with the Clerk's Office. These documents MUST be filed with the Probation Office.
